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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   ABILENE DIVISION

JERRY YOUNG                                      §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §       CIVIL ACTION NO. 1:15-cv-00040-P
                                                 §
STATE FARM LLOYDS                                §
                                                 §
        Defendant.                               §

                      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff Jerry Young and Defendant State Farm Lloyds hereby stipulate to the voluntary

dismissal with prejudice of this matter, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii).     Therefore, Plaintiff’s claims against Defendant are hereby dismissed with

prejudice, with each party to bear its own costs, if any.

        SO STIPULATED, this the 4th day of September, 2015.

                                               Respectfully submitted,

                                               /s/ Clayton Hardin*
                                               Bill L. Voss
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                                               And


                                               /s/ Rhonda J. Thompson
                                               Rhonda J. Thompson
                                               State Bar No.: 24029862
                                               Scott L. Rogers
                                               State Bar No.: 24064369

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                                  CERTIFICATE OF SERVICE

       This is to certify that on the 4th day of September, 2015, a true and correct copy of the
foregoing was delivered to the following counsel of record by electronic service and/or facsimile
transmission and/or certified mail, return receipt requested:

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        Scott G. Hunziker
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                                               /s/ Rhonda J. Thompson
                                               Rhonda J. Thompson




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